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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

DOW JONES & COMPANY, INC.,
Civil Action No. 1:06-CV-01014
Plaintiff,
Judge James Robertson
V.

ABLAISE LTD. and GENERAL
INVENTIONS INTITUTE A, INC.

Defendants.

DOW JONES REUTERS BUSINESS

INTERACTIVE, LLC d/b/a FACTIVA, Civil Action No. 1:06-CV-01015

Plaintiff, Judge James Robertson

V.

ABLAISE LTD. and GENERAL
INVENTIONS INTITUTE A, INC.

Defendants.

Name! Nome” Nome” Nome Smee Name Nee Naame Neem Nee nee Nine Nene nee nee Nee me ee eee Nee ee Nene See eee ee”

PLAINTIFFS DOW JONES & COMPANY, INC. AND DOW JONES
REUTERS BUSINESS INTERACTIVE, LLC D/B/A FACTIVA’S
MOTION FOR SUMMARY JUDGMENT OF INVALIDITY

Plaintiffs, Dow Jones & Company, Inc. and Dow Jones Reuters Business Interactive,
LLC d/b/a Factiva (“ Dow Jones”), respectfully move this Court for summary judgment of
invalidity of Claims 1, 3, 4 and 6 of U.S. Patent No. 6,961,737 and Claims 1-3 of U.S. Patent No.
6,295,530. The reasons for granting this motion are set forth in detail in the accompanying

memorandum in support.
Date:

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October 7, 2008

By:

Respectfully submitted,

/s/

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Attorneys for Plaintiffs, Dow Jones & Company,
Inc. and Dow Jones Reuters Business Interactive,
LLC d/b/a Factiva
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CERTIFICATE OF SERVICE

| hereby certify that a true and correct copy of the foregoing PLAINTIFFS DOW
JONES & COMPANY, INC. AND DOW JONES REUTERS BUSINESS INTERACTIVE,
LLC D/B/A FACTIVA'S MOTION FOR SUMMARY JUDGMENT OF INVALIDITY
was served this 7" day of October, 2008 in the manner described below to the
following:

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